     Case: 1:23-cv-02251 Document #: 49 Filed: 02/12/24 Page 1 of 1 PageID #:719

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Andrew Reichold, et al.
                               Plaintiff,
v.                                               Case No.: 1:23−cv−02251
                                                 Honorable Sharon Johnson Coleman
D. P. Condreva, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 12, 2024:


         MINUTE entry before the Honorable Sharon Johnson Coleman: Due to the Court's
trial calendar, presentment of defendant David Brown's motion to stay discovery pending
resolution of motion to dismiss [46] set for 2/14/2024 at 10:00 AM is reset to 8:45 AM
(NOTE TIME CHANGE ONLY) as an in−person hearing in courtroom 1241. Mailed
notice. (ym)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
